Case 8:12-CV-02348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 1 of 24 Page|D 43

EXHIBIT l

Case 8:12-CV-02348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 2 of 24 Page|D 44

UNITED STATES DISTRICT CO`UR'I`
MlDDLE DlSTRICT OF FLORIDA

TAMPA DIVISION
TERRY GENE BOLLEA professionally Case No.
known as l-IULK HOGAN,
Plaintiff,

V.

GAWKER MEDlA, LLC aka GAWKER
M.EDlA; GAWKER MEDlA GROUP, INC.
aka GAWKER MEDIA; GAWKER
l‘€NTER'I`AlNMENT, LLC; GAWKER
TECHNOLOGY, LLC; GAWKER SALES,
LLC; NlCK DENTON; A.J. DAUT.ER.[O;
KATE BENNERT; BLOGWIRE HUNGARY
SZEl,,l..El\/ll ALKO'I`AST l-IASZNOSITO
KFT,

 

Defendants.

DECLARATION OF PLAINTIFF TERRY GENE B()LLEA

I, Terry Gene Bo]lea, pursuant to 28 U.S.C. § ]746, declare as follows:

l. l am the plaintiff in this action The facts stated herein are stated on my own
personal knowledge and, if called and sworn as a witness, I could and would competently
testify thereto. As to those matters stated on the basis of information and belief, l am so

informed and believe those matters to be true.

Case 8:12-cV-O2348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 3 of 24 Page|D 45

2. This declaration is made in support of the Complaint filed to initiate this
action as well as the accompanying application for a temporary restraining order and
preliminary injunction (“TRO”).

3. l am professionally known as Hulk Hogan. l started wrestling in the late
l9703. l wrestled as the character Hulk l~logan in the World Wrestling Federation
(“WWF”). l was inducted into the WWF Hall of Farne in 2005. l am a lZ~time world WWP`
champion

4. l have also been a motion picture actor, having appeared in such films as
Rocky ]I], Surburbcm Commando and Mr. Ncmny. l also appeared in a television series. and
starred in the reality television series Hogan Knows Besr.

5. I have spent considerable time and effort developing my career as a
professional champion wrestler and in developing my brand My name and image have been
used, with my permission, in numerous commercial endorsement opportunities, including for
a blender known as the Hulk Hogan Thunder Mixer, an indoor grill known as 'I`he llulk
Hogan Ultimate Grill, and an energy drink known as Hogan Energy, distributed by Socko
Energy. My name and image also have been used in line of microwavable hamburgers,
cheeseburgers, and chicken sandwiches sold at Wal-Mart called "Hulkster Burgers.” ln or
about Novembcr 201 l, l launched a new website called Hogan Nutrition, which features
many nutritional and dietary products Through years of hard work, l have developed skill,
reputation and international notoriety to create substantial value in my identity.

6. Approximately six years ago, l had private consensual sexual relations with a
woman named l-Ieather Clem, in her private bedroom. l had no knowledge at the time that
anyone was videotaping that encounter, and l would have strenuously objected to any audio
or video recording thcreof. l learned very recently that Ms. Clem and/or her ex~husband,

Bubba the Love Sponge Clem aka 'l`odd Alan Clem, videotaped my sexual encounter with

Case 8:12-cV-O2348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 4 of 24 Page|D 46

Ms. Clem, without my knowledge or permission I had a reasonable expectation of privacy
at all times in connection with that sexual encounter with Ms. Clem.

7. On or about October 4, 2012, one or more of the named defendants in this
action (_collectively, “Gawker Media”) posted to their website www.Gawker.chn_ (the
"Gawkcr Site”) excerpts of the videotape showing Ms. Clem and l engaged in private
consensual sexual relations (the “Video”). 'l`he Video was posted at the Gawker Site without
my knowledge or permission

8. When l learned about the Video at the Gawker Site, l immediately contacted
my attorney, David R. Houston, and he then sent a cease and desist letter to the defendants
dated October 5, 2012, demanding the removal of the Video from the Gawker Site, and
threatening a lawsuit against Gawker Media if it did not comply. A true copy of Mr.
Houston’s letter is attached hereto as Exhibit A. Mr. Houston then followed that letter with
an email dated October 5, 20l 2, to defendant Nick Denton, the owner of Gawker Media,
again demanding the removal of the Video from the Gawker Site, a true copy of which is
attached hereto as Exhibit B.

9. Gawker l\/chia did not remove the Video front the Gawker Site, and it still
remains at the Gawker Site to this day. lnstead, Gawker responded to Mr. Houston’s letter
and e~mail with an e~mail dated October 9, 2012, a true copy of which is attached hereto as
Exhibit C, stating that Gawker l\/Iedia would not remove the Video excerpts from
www.Gawker.com.

10. Fu-rther, other media outlets and websitcs picked up on the story that the
Gawker Site was posting the Video, thus driving a tremendous amount of web traffic to the
Gawker Site and the Video. A true copy of just a f`ew of the other media reports regarding
the Video at the Gawker Site are attached hereto as Exhibit D. I have seen many, many

more reports of the Video at the Gawker Site, but am not attaching all ofthem, for purposes

Case 8:12-cV-O2348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 5 of 24 Page|D 47

of brevity. The NY Daz'ly News article attached hereto within Exhibit D shows two still
images from the Video at the Gawker Site,

ll. lf the Video remains publicly posted and disseminated it will have a
substantial adverse and detrimental effect on my personal and professional life, including
irreparable harm to both.

12. The recording of the Video without my knowledge, and the public posting
and dissemination of the Video has completely tlipped my life upside down, has rattlcd my
current marriage, has been devastating to me and my family, and has caused by severe
emotional distress.

13. Based on these facts, I respectfully request that the Court to grant the
requested temporary restraining order and preliminary injunction to prevent the defendants
from continuing to violate my privacy rights Speciiically, l request that the Court order the
defendants to remove the Video and all portions and content therein, from all of their
websites, and to turn over to my attorneys all copies oi`the full-length videotape, the Video,
and all content therein, including all clips, still images and audio taken therefrom, and all

transcripts prepared of the audio contained within the videotape.

I declare under penalty of perjury under the laws of the United Statcs of Amcrica that

the foregoing is true and correct

Executed this 15th day of October, 2012.

  

Case 8:12-Cv-02348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 6 of 24 Page|D 48

DECLARATION
EXHIBIT A

 

 

Case 8:12-cv-O2348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 7 of 24 Page|D 49

LAW OFFICE OF

DAVID R. HOUSTON

STA TE AND FEDERAL CR!M]NAL DEFENSE

Criminal law Officc l)avid R. Housmn, Esq.

432 Court Stzeet Atlorney

cho, chada 89501_ Kc Rosser

'l`ele! 775 .786.4 l 83 Bu:siness Mamger

le: 775.786.5573 Alnha neofamdes

Email: dhouston@houstonatlaw.com legal As.ri.s'tarrt
Knren Moarrexl
Secrerary

Via Federal Express

Gawker Media

Nick Denton

Publishing & E`,ditorial

210 Elizabeth Street, Fourth Floor
New York, NY 10012

Re: Terry Bollea v. Gawker Media et aL
SETTLEMENT COMMUNICA'I'ION UNDER F.R.E. 408
Dear Mr. Denton;

We are litigation counsel for 'l`erry Bollea, professionally known as Hulk Hogan, in the protection of his
right of privacy and his right of publicity, as well as his other trade identity and intellectual property rights

As you know, Hulk Hogan has worked as a public performer, an actor, a television personality, and a
professional wrestler for over 30 years. During this time, our client has made countless public
performances in film, television, and radio, he has appeared in commercial advertisements, he has endorsed
products and services, and he has gained the attention of hundreds of millions of viewers and fans
throughout the world. Obviously, Hulk Hogan’s trade identity is an extremely valuable asset which our
client actively protects. Likewise, Hulk Hogan vigorously protects his privacy interest in the most intimate
details of his life.

lt has come to our attention an anonymous third party recently approached you about a secretly filmed and
unauthorized video depicting sexual relations between Hulk Hogan and an anonymous woman. The acts of
secretly tilming, releasing, and “shopping” the most intimate, private details of Hulk Hogan’s life are
morally and legally appalling. From a legal standpoint the unauthorized use of Hulk Hogan’s narne,
likeness, and other symbols of his celebrity identity by you to your advantage, commercial or otherwise,
would result in grave injury to Hulk Hogan, including substantial monetary damages and harm to his future
licensing and endorsement opportunities thereby violating his right to publicity ln addition, the
unauthorized display, distribution, and other uses of the video would constitute any one ofthe four distinct
torts included under the rubric of the right to privacy, (l) including public disclosure of Hulk Hogan’-s

Case 8:12-cv-O2348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 8 of 24 Page|D 50

Pg.Z

private facts, (2) intrusion upon Hulk Hogan’s solitude or into his private aH`airs, (3) false light publicity,
and (4) appropriation of Hulk Hogan’s name and likeness. See, e.g. , Michaels v. Internet Entm ’t Group,
Inc. , 5 F. Supp. 2d 823 (C.D. Cal. 1998); Eastwood v, Superior Court (Nat ’l Enquirer), 198 Cal. Rptr. 342
(Cal. App. 1983). See also White v. Samsung Electronics America, Inc., 971 F.2d 1395 (9th Cir. 1992).

Furthermore, any attempt to hide behind the veil of the “newsworthiness privilege” will fail and cannot
possibly save anyone making unauthorized use of the video from liability. At_ a minimum, the
newsworthiness exception to the right of privacy must fail, as it did in Michaels v. Intemet Entm ’t Group,
Inc., 5 F. Supp. 2d 823, 841 (C.D. Cal. 1998), because “[i]t is difficult if not impossible to articulate a
social value that will be advanced by dissemination of the [video].” Moreover, “a video recording of two

individuals engaged in [sexual] relations represents the deepest possible intrusion into such [private]
ati`airs.” Id.

We can assure you that Hulk Hogan intends to pursue all civil and criminal remedies available against
anyone connected with “shopping” around, distributing, or otherwise using the vidco. 'l`o this end, we will
commence consultations with federal and state law enforcement about the criminal aspects of this matter.

Hulk Hogan would like to end this matter immediately by learning the identity of all persons involved with
“shopping” the video to you and any other party. If you immediately disclose the requested information
and refrain from becoming involved with any use of the video, Hulk Hogan will consider this matter closed
and will not seek legal remedies against you for the issues raised in this letter.

We look forward to receiving your response by immediately

Davrd R. Houston

DRH:kc

Case 8:12-CV-02348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 9 of 24 Page|D 51

DECLARATION
EXHIBIT B

Case 8:12-cv-O2348-.]DW-TBl\/| Document 4-1 Filed 10/16/12 Page 10 of 24 Page|D 52

From: Kristy Rosser
Sent: Friday, October 05, 2012 11:19 AM

To: nick@awker.com
Subject: 10.5.12 Hogan Tape Matter

10/5/201211216 AM

Dear Mr. Deriton;

l am enclosing herewith as an attachment a cease and desist letter sent to you and your company As is apparent and

quite common knowledge, the sex tape you are showing as it concerns Hulk Hogan was recorded without his knowledge
`and consent

As such, the individual tilming disseminating and/or publishing may be responsible under Florida criminal statutes Your

republication of the same with complete knowledge as to the fact it was done without his consent and/or knowledge may
well subject you to liability

l am sure your counsel can provide you appropriate legal advice so l will not presume to do the same l am asking you to
remove the se'x tape from your website

lf you do not do so, you leave us no option but to proceed legally We will exhaust every legal avenue possible including
potential criminal charges if you do not.

l did not want you to think l was attempting to bu|ly you or make demands that were not warranted l am asking you to
remove the same l am simply advising what our next steps will be if you do not.

lt is not meant to threaten, but rather as an advisement as to what we must do in order to protect the image of Hulk Hogan
and Hulk Hogan’s privacy rights

| am sure you must understand as a human being exactly how offensive the same would be. Despite the fact'this would
have been presented to you anonymously, it is difficult to believe you were not aware this was done without his consent
and/or knowledge

lf you did not knowl then l ask you at this time not to participate in the perpetration of what might arguably be a criminal
act You of course are free to do whatever you choose, but we would deem the same a signihcant sign of good faith if you
choose to remove it voluntarily and would not proceed against your or your company

| have no intention of attempting to harm you or your business but rather only protect my client l hope you understand
the necessity of this communication and my purpose

Sinoerely,

David R. Houston

/kc

Kc Rosscr, Busincss Manager‘ to
David R. Houston, Esq.

432 Court Str‘eet

Reno, NV 89501
775-786-4188

775-786-5091 FAX

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autrey dl copies of the original ama ' b v _ l

int Advioo Drscln¢ure' To ensure compliance wm requirements imposed oy the lRS under Cirt:ulz 230, we in¢orm you inst any U.S. federal tex advice contained in this oomrmnication (inolu:ring any
anadimants), unless crim speciesty stated was net intended orv¢ritten to be used and cannot be used, for the purpose of (i) avoiding ponekies under the lniemiil Revenue Code. or (2) promoting
marketing or recommending to mother party any matters addressed herein

Case 8:12-cv-O2348-.]DW-TBl\/| Document 4-1 Filed 10/16/12 Page 11 of 24 PagelD 53

DECLARATI()N
EXHIBIT C

Case 8:12-cv-O2348-.]DW-TBl\/| Document 4-1 Filed 10/16/12 Page 12 of 24 PagelD 54

 

From: Cameron Stracher lmailto:cameron@qawker.coml
Sent: Tuesday, October 09, 2012 3:12 PM

To: David l-louston

Subject: Claim of Terry Bollea

Dear Mr. Houston:

l write in response to'your undated letter to Nick Denton regarding a news article on Gawkcr.com about a video
depicting Terry Bollea, aka Hulk Hogan, and an unidentified woman. You ask that Gawker disclose the identity
of the person who provided the video and "refrain from becoming involved With any use of the video." Under
the circumstanccs, we respectfully decline your request

The existence and content of the video were Widely reported prior to Gawker's publication lndeed, various
news outlets had already identified the woman in the video and her husband Moreover, the video depicts Mr.
Bollea having sex with a married woman in the woman’s home, under circumstances and in a place where he
has no reasonable expectation of privacy. (ln fact, it appears that there was a surveillance camera in the
bedroom from which the video was made). Finally, the one minute clip shows very little sexual activity and is
clearly newsworthy given the public interest in Mr. Bollea's marriage, divorce, and his extramarital activities

As for the specific claims you allege: l) Givcn the wide disclosure of the content of the video prior to
publication, the content actually posted, and the newsworthiness of the video, there can be no claim for
publication of private facts; 2) given that the video was made by a third party, not Gawker, there can be no
claim for intrusion upon seclusion; 3) no false light publicity claim may be maintained where the content of the
video is true; 4) there can be no claim for appropriation of Mr. Bollea‘s name and likeness where the video is
not being used for a "comrnercial" purpose (as thc law defines it), is truc, and is ncwsworthy. Your citations to
the Michaels and Eastwood cases arc not applicable here. ln Michaels, thc plaintiffs had an expectation of
privacy in their own home, defendants had used plaintiffs images to promote the video at issue, and the video
was significantly longer than the short clip posted by us. In Eastwood, the key issue was the alleged falsity of
the publication, which is not relevant hcre.

lf your client wishes to make a Statcment on the video or any matter related to it, we would be happy to post his
response

Regards,

Cameron Stracher
Litigation Counsel
Gawker Media

Otfice: 212.743.6513
Cell: 917.501.6202

 

E ______________

 

 

 

Case 8:12-cV-O2348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 13 of 24 Page|D 55

DECLARATION
EXHIBIT D

Case 8:12-cV-O2348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 14 of 24 Page|D 56

Hulk Hogmi ‘devastated’ by leak of sex tape tilmed six years ago with friend’s wife Heather Clem; Lawyer sa... Page 1 of 10

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GOSS|P

Hulk Hogan ‘devastated’ by leak of sex ta e iilmed
six years ago with friend’s wife Heather C em;
Lawyer says wrestler suffered the 'ultimate
betrayal'

The mudaohlood muscle mm our told Howard Stom Tueod¢y that the mcy recording was made

without hl¢ knowledge abc yarn ago while hls marriage to ex-wlfe Linda Hogan was crumbllng. Lawyor
says Hogen 'fools absolutst botray¢d' by his but Mond.

Commerts (48)
BY NANC¥ DlLLON / NEW ¥ORK DA|LY NEWS

PUBLlSHED: TUESD.AYl OCTOBER 9, 2012, 1:53 PM
UPDATED; VVEDNESDAY, OCTOBER 10, 2012, 9;27 PM

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Case 8:12-cV-O2348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 15 of 24 Page|D 57

Hulk Hogan ‘devasmd’ by leak of sex tape Hlmed six years ago with friend’s wife Heather Clcm; Lawyer sa... Page 2 of 10

 

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JERoo HARR\s/wmeiMAee
Hulk Hogen married h\e current wlfe, Jennlfer IeDenlel, in 2010.

Hulk Hogan suffered the "ultimate betrayal" when his best friend l'itmed him having sex, his lawyer
said Tuesday.

"He feels absolutely betrayed,' lawyer David Houston said.

Houston said "aouroee“ have informed him that the secret sex tape involving his cient ends with
Bubba the Love Sponge discussing the recording‘s potential value with wife Heather Clem.

Clem was Hogan's partner during the naked romp, Homn admitted to Howard Stem Tueeday_
PHOTOS: CHEAT|NG SCANDALS OF THE STARS

"lf we ever did want to retire, all we'd have lo do ie uee this footage." Bubba is heard saying at the
tape'e tail end, amding to celebrity website TMZ.com.

http://www .nydailynews.oom/ontutaimnent/gossip/huk~hogan-devastatod-leak-sex-tapc-article-l .l 178397 10/15/2012

Case 8:12-cV-O2348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 16 of 24 Page|D 58

Hulk Hogan ‘devastated’ by leak of sex tape tilmed six years ago with friend’s wife Heather Clem; Lawyer sa... Page 3 of 10

 

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Case 8:12-cV-O2348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 17 of 24 Page|D 59

Hulk Hogan ‘devastated’ by leak of sex tape filmod six years ago with fi'iend’s wife Heather Clcm; lawyer sa... Page 4 of 10

ETHAN MLLEFHBETW MAGES

Hogan ldentii|edhle bedroom perthereeHedherCle-\,theeetrengedwlfeofredlopemonelltyaubhe
theLovve Bponge.

 

LRl SCHANKERIF\LMMAG|C

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PHOTOS: CELEBR|TY SEX SCANDALS

The euit. expected in federal court in Florida, wll itclude charges of lnvaeion of privacy, damage to
mammarxldarmgetomrnmerdelvlabtllty, hesaid_

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Case 8:12-cV-O2348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 18 of 24 Page|D 60

Hulk Hogan ‘dcvastated’ by leak of sex tape tilmed six years ago with friend’s wife Hcather Clcm; Lawyer sa.. Page 5 of 10

“-i';i§

e§.`.

Can‘t believe l should be at horne now and
l'm here.

Hoganeaid hhllr¢raerriagewee'mailyecmdupbad‘atthetimedrevideowaetapped.

 

'We think whatever lawful means are available for redress should be put into play. That‘s what Hulk
wants to do," Houston told the Daly News, saying it's possible they'|l also contact police in New York.

“New ¥ork may be beet jurisdiction for the criminal cae," Houston said 'We're in Florida initialth
figure that out.'l

Hogan. 59. told NBC's '“l'oday" show that the tape happened during a "lcw point" in his failing
marriage to ex~wife Linda Hogan.

"Things were bottomed cut completely," he said. 'l was with some friende, and l made a wrong choice
And now all of a sudden it surfaowe, you know over six years later, and it's just appell'ng_"

He said the scandal has 'rattled' his new wife Jennifer McDaniel, whom he married in 2010.

The wrestliig star tried to eprin the kinky love triangle to Howard Stem Tuesday using a thinly
veiled euphemlsm.

'Let’s say l’ve been doing laundry, brother, for this person forever, and all of a sudden this person
hatee the way l do laundry. And that person says, '¥ou suclc l hale you. F-you every single day. l
hate the way you do laundry. |'m going to iind somebody else to do laundry. Somebody younger,
faster, stronger,‘” he eaid, dearty taking a ph at his ex-wife.

http://\vww.nydailyncwa.com/cntertainment/gossip/hulk-bogan-dcvastated-leak-sex-tape-erticle- 1 . l 17 8397 10/ 15/2012

Case 8:12-CV-02348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 19 of 24 Page|D 61

Hulk Hogan ‘devamd’ by leak ot`sex tape iilmed six years go with fi'imd’s wife Hedhor Clem; Lawyer sa... Page 6 of 10

l'm out of breath.

 

HulHogene¢yothevldeow-sshot¢ta‘frlond’ehome.'

'But my buddy, you kmw, him and his girl say. 'Hey, you can do our laundry any time you wantt’
Both of them are saying that,' he told Slem. “Flnally a'lterthe person l was doing laundry with for
mllllonsand mllllonsofyears left, and allofasuidentherewasnobodytheretodo lamdry,lwas

depressed.. l go to my buddy's house and he says, 'Hey man you can do this other poreon's
lundy that l'm partners with.’ l said, 'Sure."

 

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Case 8:12-CV-O2348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 20 of 24 Page|D 62

Hulk Hogan `devastated' by leak of sex tape t`rlmed six years ago with friend’s wife Heather Clem; Lawyer sa... Page 7 of 10

1 2 NeXt »

POST A COMMENT »

OTHERSTORlES

         

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Bucl<et List: 14 Amazing l Mario Lopez: At Home With Rihanna tweets R-rated Hulk Hogan sex tape was

Trips The Family stripper pic leaked by Bubba the Love
(Frommer's) . (He¢ich Beeuty L're)

[?l

COMMENTS

Commants (48) See All Comments [Discussbn Guidelines ]

PQST A NEW COMMENT

__ __ __ w __ ___________ __W

LUNAPARA3 1 day ago 0

 

i_ _______ _ .

POST

J ust read Hulk‘s laundry analogy. That's great, Hu.lk, but it wasn't laundry you were doing. He's
making this thing biger by doing all these interviews, so you have to wonder just how "devastating" it
really was to him. 1 know its hard to start over in your 50's but going the sex route is really tacky.

nom

USEK]A 4 days go

http://www .nydailynews.oom/envertaimnent/gossip/hulk-hogan~devastated-leak-sex-tape-article-1 .1 178397 10/1 5/2012

Case 8:12-CV-O2348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 21 of 24 Page|D 63

Even for a Minute, Watching Hulk Hogan Have Sex in a Canopy Bed is Not Safe For Work but Watch it Any... Page 1 of 8

 

'l`OP STORlES

 

NSF\

Even for a Minute,
Watching Hulk Hogan
Have Sex in a Canopy Bed
is Not Safe For Work but
Watch it Anyway

' A.J. DaIlerlo

Because the intemet has made it easier for

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Sillre Like 19k

3,l78,954¢s 472‘1-‘

GET OUR TOP STORIES
FOLL()W GAWKER

Apn'l Brucker, XiXi Yang and 2l3,598
others like this.

Like

all of us to be shameless voyeurs and deviants, we love to watch famous people have sex. We
watch this footage because it's something we're not supposed to see (sometimes) but we come
away satisfied that when famous people have sex it's closer to the sex we as civilians have from
time to timc. Meaning: it's hardly ever scxy thc way we expect it to be sexy, even when the
participants arc ostensibly more attractive than the majority of our sex partners will bc.

But nnked, they're still having sex like people who don't usually have sex on cemera. Even if their
dicks arc big enough to smash a boat horn with authority, or their faces are lit up like Gqu War
send missile footage after midnight, their sex- purposeful, vaunted celebrity sex-is still incredibly dull.

hitp://gawker.com/S%8'770/evcn-for-a-minute-wstching-hu[k-hogm“hlve~sex-in-n-clnopy~bed-is-not-safe-fo... 10/15/2012

Case 8:12-CV-O2348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 22 of 24 Page|D 64

Even for a Mioute, Watch`ng Hulk Hogan Have Sex in a Canopy Bed is Not Safe For Work but Watch it Any... Page 2 of 8

'l`he normale of it is exciting, though. When you see glirnmers of sloppy kissing or some shoulder moles
orjust an eammt, breathy, post-coiwl ”iluvvvvuuuu... " it becomes mesmerizing.

Up top, you'll see one minute from the 30 minutes of footage taken of 59-year-old Hulk Hogan,
professional wrestler, Real Life American Hero to many, fucking a woman rumored to be the ex-wife of
his best friend, a famous radio D.l named Bubba the Love Sponge. This footage was stealthily circulated
last April. Tl\/l'/. reported its existence, 'I`he Dirty showed some screen shots, and Hulk lawyered up
because he claims he was "secrctly tilmed." Last week, a burned DVD copy of Hulk having sex with the
woman rumored to be lleather Clem (Bubba's ex-wife), was delivered to us through an anonymous
source. They wanted no payment. 'I`hey wanted no credit. Their only request was that we watch it. So l
did-all 301|7 of it-and hyperbole aside, it's a goddamn masterpiece.

lt opens with Hulk Hogan performing oral sex on the woman as she lays on the bed. Then another man's
voice can be heard from inside the room off-camera and both Hulk and the naked woman engage in idle
chit-chat with the mystery man. Because the woman closely resembles Mrs. Clem, some have sugg$ted
that the voice of the mystery man is, in fact, Bubba the Love Sponge. if this is true, Bubba has no problem
sharing his wife with his best friend.

"You guys do your thing," this man says. "I'll be in the office if you need me."

He exits swiftly and allows Hulk and this woman their privacy. Hulk and the woman engage in more chit-
chat and Bubba's name is mcntioned. The woman says "Wejust fucked earlier today." Hulk asks "Who?
You and Bubba?" Shejust laughs. lt doesn't matter.

Hulk strips down. His tan line is exposed and his hairline is vulnerable and silly without the do-rag, but
there is sex to be had regardless Hulk must get hard, though, and the woman is eager to make that
happen. I-ler fellatio is successful and Hulkamania is about to run wild on her but then his cell phone
rings He checks it because he thinks it might be his son, Nick. The ringtone on Hulk Hogan's phone is a
song by his daughter, Brooke Hogan, called "About Us" featuring Paul Wal|. He is a proud father.

But Hulk checks the caller and does not want to talk that person at all. "Fuck no," he says.

He stands on the side of the bed and the woman scoots up from the pillows and resumes giving the former
WWE heavyweight champion of the universe a blowjob. lt is a slow, dutiful blowjob and Hulk is
thrusting himself into her mouth to spwd up the process This goes on for a few minutes and at one point
Hulk examiner the canopy bed curtains in a way that suggests he'd like to purchase this particular style for
his own canopy bed some day. She takes a break. She spits ioudly. She resumes for a few seeonds, but it
appears the spit has worked because Hulk mutters something in a growly sex voice. The woman removes
him from her mouth and spins around on the bed like an excited puppy. She stands. They grope each other
and stare at each other. "What did you say?" she asks, laughing and tying up her hair in a pony tail. Then
they both laugh because there was a miscommunication during the sex act and they don‘t want to feel
awkward.

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Case 8:12-CV-02348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 23 of 24 Page|D 65

Even for a Minute, Watching Hulk Hogan Have Sex in a Canopy Bed is Not Safe For Work but Watch it Any... Page 3 of 8

"You got a rubber? l want you to climb on top of me," Hulk repeats, but not as sexy as it was the first
time, which she didn’t hear. ¥es, she does have a rubber. Then we watch Hulk stand up and clumsily
attempt to roll a condom on to his erect penis which, even if it has been ravaged by steroids and middle-
age, still appears to be the size ot`a thermos you'd find in a child's luncthx. Hulk hurls his massive body
on to the canopy bed and the woman climbs on top, tinally, and they begin. 'I`here is lots of squealing and
meaning from her and she says stuH` like, 'I want to make you cum" and, "Your dick feels so good inside
me"_that sort of thing. There is light sp¢nking from Hulk done to show he supports her efforts and is
close to orgasming.

Then, Hulk grunts. Hulk grunts more. Then Hulk grunts like he's doing an impression of old Hulk Hogan
grunting right before he's about to cim/come. Climax happens for both participants and they seem pleased
with the results. The woman provides two tender kisses on Hulk`s upper chest. Hulk says, "Mmmk,”
because he's a little bemused by the situation he finds himself in on this day as we'll soon find out. llere's
how Hulk explains his reaction to the woman hejust had sex with:

"'l`he rubber almost came off," he says.
She's not concerned "It did what it was supposed to."
Hulk thought that was funny and makes her repeat it.

She does so and then peels off the rubber from his penis and carries it away. She holds the conde full of
Hulkjiz like it's a random dirty sock she found in the dryer. Hulk is still coming down from his orgasm
and is making quick1 loud Tony Soprano wheezes.

"Oh my god," he exhales. "Can't believe l have to drive back home. Fuuuuck."

The woman gigg|es, climbs back into bed with him and reminds Hulk that this is why he should move to
this neighborhood They mgage in some cudd|ing for a couple minutes but Hulk does have to go because
he has to go meet his son Nick who was presumably no longer in prison during the time this was Hlmed.
Playful banter resumes amidst the afterglow. Hulk gets up naked and accepts the invitation from the
woman to take a shower. But then he tells the woman that he's shocked that the fucking took place at all
because he'd just eaten ten minutes before he got there and "felt like a pig." He had sashimi. He smacks
his large stomach and makes his way to the shower.

Hulk begins to put on his clothes. 'Bubb¢.'s shirt," he says when he puts on his shirt. Ho's pulling on his
jeans one giant leg at n time, still mumbling. The woman is naked in bed md not at all concerned by his
early exit. She does suggest that he go talk to the mystery man in the office before he leaves. But Hulk has
to go meet his son Nick at midnight Then Hulk tells a story about how Nick's new girlti‘iend has a twin
sister who called Hulk on the phone. Hulk reveds that the young woman inquired about his divorce and, if
thm's true, she would like to be the first to go out with him.

Hulk sits on the bed and puts on his socks. "You're a hot commodity," the woman says to Hulk. "Yeah,
right. Huh," Hulk says. Even Huk Hogm needs to be told he's handsome sometimes

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Case 8:12-CV-02348-.]DW-TBI\/| Document 4-1 Filed 10/16/12 Page 24 of 24 Page|D 66

F.ven for a Minute__ Watching Hulk Hogan Have Sex in a Canopy Bed is No\ Safe For Work but Watch il Any... Pagc 4 of 8

But he has to go, he lc¢ns over md kim the woman. 'I`hey joke about him loving and leaving but it's
okay. "Be cool," he says to the woman on his way out the door. 'I`hey thank each other for the m "You'rc
awesome," Hulk says on his way out the door. "So arc you," she says back in a very sinocre way.
Evcrybody's awesomc. Hulk asks her if he should close thc door on the way out. "No, leave it opcn," she
says. "Thank you." OH` he went

Video edf/ed by Kale B¢'nm’rl.

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